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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

  Civil Action No. 19-cv-02099-MSK-MEH

  STRIKE 3 HOLDINGS, LLC,

         Plaintiff,

  v.

  JOHN DOE SUBSCRIBER ASSIGNED IP ADDRESS 76.120.69.219,

         Defendant.


                                       AMENDED1 ORDER


  Michael E. Hegarty, United States Magistrate Judge.

         For good cause shown, Plaintiff’s Motion for Leave to Serve a Third-Party Subpoena Before

  a Rule 26(f) Conference [filed August 5, 2019; ECF No. 7] is granted as follows.

         Plaintiff’s motion alleges that the Defendant John Doe, identified only by his or her internet

  protocol (“IP”) address, has infringed on Plaintiff’s copyrighted work by using the internet and a

  “BitTorrent” protocol to reproduce, distribute, display, or perform Plaintiff’s protected media.

  Plaintiff requests permission from the Court to serve limited, immediate discovery on Defendant’s

  internet service provider (“ISP”) prior to the Rule 26(f) conference. The purpose of this discovery

  is to obtain additional information concerning Defendant’s identity.

         Fed. R. Civ. P. 26(d) proscribes seeking discovery before Rule 26(f) conferral. However,

  this prohibition is not absolute; the Court may authorize discovery upon a showing of good cause.

  Pod-Ners, LLC v. N. Feed & Bean of Lucerne Ltd. Liab. Co., 204 F.R.D. 675, 676 (D. Colo. 2002).



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          This order is amended solely to correct the caption, in particular the IP address number.
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  “Expedited discovery should be limited, however, and narrowly tailored to seek information

  necessary to support expedited or preliminary relief.” Avaya, Inc. v. Acumen Telecom Corp., No.

  10-cv-03075-CMA-BNB, 2011 WL 9293, at *2 (D. Colo. Jan. 3, 2011).

         The Court finds good cause for limited expedited discovery. Therefore, Plaintiff’s motion

  is granted as follows. Plaintiff may serve a third party subpoena pursuant to Fed. R. Civ. P. 45 on

  the ISP with the limited purpose of ascertaining the identity of Defendant. The subpoena shall be

  limited to providing Plaintiff with the name, address, telephone number, email address, and Media

  Access Control address of Defendant. With each subpoena, Plaintiff shall also serve a copy of this

  Order. The ISP shall notify the subscriber that his/her identity has been subpoenaed by Plaintiff.

  Finally, the Court emphasizes that Plaintiff may use the information disclosed in response to the

  subpoena only for the purpose of protecting and enforcing its rights as set forth in its Complaint,

  ECF No. 1. The Court cautions Plaintiff that improper use of this information may result in

  sanctions.

         Entered and dated at Denver, Colorado, this 20th day of August, 2019.

                                                       BY THE COURT:



                                                       Michael E. Hegarty
                                                       United States Magistrate Judge




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